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1                                                           The Honorable Judge John C. Coughenour
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                               IN THE UNITED STATES DISTRICT COURT

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                           FOR THE WESTERN DISTRICT OF WASHINGTON

12
                                                AT SEATTLE

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     STATE OF WASHINGTON, et al.,                    NO.: 2:25-CV-00127-JCC
14
            Plaintiffs,                              CONSENT MOTION OF AMERICA’S
15                                                   FUTURE, GUN OWNERS OF AMERICA,
            v.                                       INC., GUN OWNERS FOUNDATION,
16                                                   CITIZENS UNITED, U.S.
     DONALD TRUMP, in his official capacity          CONSTITUTIONAL RIGHTS LEGAL
17
     as President of the United States, et al.,      DEFENSE FUND, LEADERSHIP
18
                                                     INSTITUTE, AND CONSERVATIVE LEGAL
            Defendants.                              DEFENSE AND EDUCATION FUND FOR
19                                                   LEAVE TO FILE BRIEF AMICUS CURIAE
                                                     IN OPPOSITION TO PLAINTIFFS’ MOTION
20                                                   FOR PRELIMINARY INJUNCTION

21                                                   NOTE ON MOTION CALENDAR:
                                                     January 31, 2025
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            On the grounds and for the reasons set forth below, movants, through undersigned
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     counsel, pursuant to F.R.Civ.P. 7, move this Court for leave to file a brief amicus curiae in
25
     opposition to Plaintiffs’ motion for preliminary injunction.

     AMERICA’S FUTURE, ET AL. CONSENT MOTION;                        LAND USE & PROPERTY LAW, PLLC
     CASE NO. 2:25-CV-00127-JCC – PAGE 1                               6659 Kimball Drive, Suite B-201
                                                                           Gig Harbor, WA 98335
                                                                            Phone: 253-853-1806
                                                                       Jane Koler – Richard Sanders of
                                                                                   Counsel
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1           Counsel for Plaintiffs and Defendants have consented to this Motion and to the filing of
2    the attached brief amicus curiae. This brief is timely as it is being filed by the deadline allowed
3
     for Defendants’ brief in opposition to the motion for preliminary injunction and within the
4
     appropriate page limits.
5
            Movants America’s Future, Gun Owners Foundation, U.S. Constitutional Rights Legal
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     Defense Fund, Leadership Institute, and Conservative Legal Defense and Education Fund are
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     exempt from federal income taxation under Section 501(c)(3) of the Internal Revenue Code
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     (“IRC”). Movants Gun Owners of America, Inc. and Citizens United are exempt from federal
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     income taxation under IRC Section 501(c)(4). Each organization participates actively in the

11   public policy process, and has filed numerous amicus curiae briefs in federal and state courts,

12   defending a proper interpretation of the U.S. Constitution.

13   I.     THIS CASE PRESENTS A CONSTITUTIONAL MATTER AND STATUTORY ISSUE
            OF GREAT IMPORTANCE.
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            This case raises significant questions of constitutional and statutory interpretation with
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     respect to whether President Trump’s Executive Order at issue is lawful. The Executive Order
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     invalidates birthright citizenship, which is a concept that Plaintiffs claim to be rooted in the
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18   Fourteenth Amendment.

19   II.    THE AMICUS CURIAE BRIEF ADDRESSES ARGUMENTS RAISED BY PLAINTIFFS
            AND SUPPLEMENTS ARGUMENTS RAISED BY DEFENDANTS.
20
            Movants’ proposed amicus curiae brief submitted with this Motion supports the position
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     of Defendants, but supplements the arguments and authorities that it anticipates the
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     Defendants will provide in their opposition to the Motion for Preliminary Injunction. The amicus
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     brief provides relevant history of the Fourteenth Amendment and the Immigration and
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25   Nationality Act, as well as historical explanation of the error in Plaintiff’s reading of Yong Kim


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                                                                        Jane Koler – Richard Sanders of
                                                                                    Counsel
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1    Ark and other Supreme Court decisions.
2    III.   THE ACCEPTANCE OF BRIEFS AMICUS CURIAE HAS BEEN FOUND USEFUL IN
            CASES SUCH AS THIS.
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            District courts have inherent power to grant leave to file briefs amicus curiae, as they
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5    often “provide helpful analysis of the law[,] they have a special interest in the subject matter of

6    the suit[,] or existing counsel is in need of assistance.” Bryant v. Better Business Bureau of

7    Greater Maryland, Inc., 923 F.Supp. 720, 728 (D. Md. 1996). Furthermore, this Court has

8    already granted leave of other amici to file an amicus brief in support of Plaintiffs’ Motion for
9    Preliminary Injunction. See Doc. No. 70, Order Granting Unopposed Motion of Amici Local
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     Officials (Jan. 29, 2025). For the reasons stated above, it is believed that this amicus brief will
11
     inform the Court’s effort to resolve the question before it.
12
            Given the nationwide significance of this case, and its profound implications for all
13
     Americans, movants respectfully request leave to file the accompanying brief amicus curiae in
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     opposition to Plaintiffs’ Motion for Preliminary Injunction.
15
     DATED this 31st day of January, 2025.
16
                                                       Respectfully submitted,
17
                                                          /s/ Richard B. Sanders
18
                                                       RICHARD B. SANDERS, WSBA #2813
19                                                     LAND USE AND PROPERTY LAW, PLLC
                                                       6659 Kimball Dr., Ste. B-201
20                                                     Gig Harbor, WA 98335
                                                       (253) 853-1806
21                                                     richard@landuselawwa.com
                                                       Counsel for Movants
22                                                     America’s Future, et al.
23

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25


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1                                     Certificate of Service
2

3          I hereby certify that I served the foregoing Consent Motion for Leave to File Brief
4    Amicus Curiae in Opposition to Plaintiffs’ Motion for Preliminary Injunction on counsel for the
5
     parties using the Court’s Electronic Case Filing system.
6

7
     January 31, 2025                                /s/ Richard B. Sanders
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                                                     Richard B. Sanders
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